Case 2:17-cv-06956-MVL-JCW Document 1-1 Filed 07/20/17 Page Mr tolZIVED

 

ATTORNEY'S NAME: Farrugia, Victor R 19324, “UW 39 2017
AND ADDRESS: 1 100 Poydras Street, Suite 2010 , New Orleans, LA 70163 “iy SYst
CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO: 2017-05879 DIVISION: E SECTION: 16

ROBINSON, CLARENCE E. JR.
Versus

BOARD OF SUPERVISORS OF LOUISIANA STATE UNIVERSITY AND AGRICULT
MECHANICAL COLLEGE, THROUGH ITS HEALTHCARE SERVICES DIVISION ANP

CITATION

TO: MR SCOTT BALLARD, CHAIRMAN, BOARD OF SUPERVISORS OF LOUISIANA
STATE UNIVERISTY AND AGRICULTURAL AND MECHANICAL COLLEGE

3810 WEST LAKESHORE DRIVE, BATON ROUGE, LA 70808

YOU HAVE BEEN SUED:
You must either comply with the demand contained in the
Petition for Damages AND INJUNCTIVE RELIEF

a certified copy of which accompanies this citation, or file an answer or other legal pleading in the office of the
Clerk of this Court, Room 402, Civil Courts Building, 421 Loyola Avenue, New Orleans, LA, within fiftcen (15)
days after the service hereof under penalty of default.

ADDITIONAL INFORMATION

Legal assistance is advisable. If you want a lawyer and can't find one, you may call the New Orleans
Lawyer Referral Service at 504-561-8828. This Referral Service operates in conjunction with the New

Orleans Bar Association. If you qualify, you may be entitled to free legal assistance through Southeast
Louisiana Legal Services (SLLS) at 877-521-6242 or 504-529-1000.

#444 COURT PERSONNEL ARE NOT PERMITTED TO GIVE LEGAL ADVICE***#####

IN WITNESS HEREOF, I have hereunto set my hand and affix the seal of the Civil District Court for the
Parish of Orleans, State of LA June 19, 2017

 
    

 

 

 

 

 

 

 

 

 

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New Orleans, LA f Origins f{
, Deputy Clerk
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CIVIL DISTRICT COURT Hh E D
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CLARENCE E. ROBINSON, JR.
VERSUS
BOARD OF SUPERVISORS OF LOUISIANA STATE UNIVERSITY AND

AGRICULTURAL AND MECHANICAL COLLEGE, THROUGH ITS HEALTHCARE
SERVICES DIVISION

FILED:

 

DEPUTY CLERK
PETITION FOR DAMAGES AND INJUNCTIVE RELIEF

Petitioner Clarence E. Robinson, Jr. (“Robinson”) brings this Petition against defendant
Board of Supervisors of Louisiana State University and Agricultural and Mechanical College,
through its Healthcare Services Division (“HSD”) for violation of the Americans with
Disabilities Act of 1990, 42 U.S. C. §§ 12101, et seq., as amended ("ADAAA").
JURISDICTION AND VENUE
1.
This Court has jurisdiction over the subject matter of this petition because it is

a court of general jurisdiction and this is an action arising under the laws of the United

States. specifically, Title I of the Americans of Disabilities Act of 1990. 42 U.S.C. §

12111, et seq. and Title V, Section 503 of the Act, 42 U.S.C. 12203. Robinson has

exhausted the administrative remedies availble to him under 4 U.S.C. §§ 2000e , et

seq. and all conditions precedent have occurred or been performed. Robinson filed a

Charge of Discrimination with the Equal Employment Opportunity Commission. The

U.S. Equal Employment Opportunity Commission issued a Notice of Right to Sue on

March 22. 2017. This Complaint is timely filed within the ninety-day period afforded

by 42 U.S.C. §§ 2000e-5(f)(1).

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Venue in this is proper because Robinson was employed by HSD (formerly
Medical Center of New Orleans) in Orleans Parish.

THE PARTIES
Case 2:17-cv-06956-MVL-JCW Document 1-1 Filed 07/20/17 Page 3 of 7

3,
Petitioner Robinson resides in Orleans Parish, Louisiana. He was the Clinical Systems

Director of the Medical Center of Louisiana New Orleans, which has been taken over by the

HSD.
4,
Defendant HSD is operated by the Board of Supervisors of Louisiana State University
and Agricultural and Mechanical College.

FACTUAL ALLEGATIONS

5.
On 8/25/08, Robinson was hired by the Medical Center of Louisiana New Orleans

as Clinical Systems Director. Robinson's position was a professional level administrative
position in the Facilities Maintenance Department. In addition to his administrative
duties, he managed the employees on the Biomedical Equipment staff.

6.

On 5/2/11, Robinson fell while at work, rupturing his bilateral quad tendons on both
legs, which necessitated surgery to repair his bilateral quad tendons. Robinson is a person
with a disability under the ADAAA. He is an individual with a physical impairment that
substantially limits one or more of his major life activities. Specifically, Robinson is
limited in the major life activities of performing manual tasks, walking, standing,

lifting, and bending.

After his injury, Robinson submitted his request for and was approved for
family medical leave. Robinson's FMLA request was backdated by to the date of
injury, 5/2/11.

8.

Although Robinson made several requests regarding his status of his sick

leave to the HR department while he was out of work due to his injury and surgery,

he was never provided with this information.

9.

2
Case 2:17-cv-06956-MVL-JCW Document 1-1 Filed 07/20/17 Page 4 of 7

Robinson made several email requests to his supervisor James Ford to be
given permission to do some of his work from his house while he was on medical
leave. Mr. Ford did not respond to Robinson's requests to work from home. Not only
did Mr. Ford deny Robinson’s request for an accommodation, he failed to engage at
all in an interactive process to explore possible accommodation to allow Robinson to

perform the essential functions or to consider leave as an accommodation.

10.

On 7/19/11, Paul B. Gladden, M.D. gave Robinson a physical exam and
concluded that because Robinson had a desk job, sitting all day, that it would be fine for
him to return to work.

11.

On 7/27/11, Robinson submitted to his employer documentation from Dr. Gladden, that
stated that Robinson was able to return to work on 8/1/11 with the accommodation of being
able to use a wheelchair at work.

12.

On 7/29/11, Adler Voltaire, Chief Administrative Officer, gave Robinson a Notice of
Pre-Removal Hearing, claiming that Robinson had exhausted all usable sick leave as of July
11, 2011 and claiming that Robinson's twelve-week eligibility under the Family Medical
Leave Act was exhausted as of July 22, 2011.

13.

In the Notice of Pre-Removal Hearing, which was delivered by the Hospital Police on
Friday, 7/27/11, Voltaire stated that the lastmedical certification indicated that Robinson
would notbe ableto return to work until August 1, 2011. That date for Robinson's return to
work was thenext work day, Monday, August 1,2011.

14.
Voltaire indicated in his Notice of Pre-Removal Hearing was considering terminating
Robinson's employment because it was necessary to resume the completion of theduties of
Robinson’s position in a “normal” fashion without further delay. There was no interactive

3
Case 2:17-cv-06956-MVL-JCW Document 1-1 Filed 07/20/17 Page 5 of 7

process discussing the accommodation of Robinson’s disability.
15.

On 8/1/11, the next work day after the Notice of PreRemoval Hearing, Robinson was
released by his physician to return to work. However, Robinson was terminated from his
employment allegedly for violating Civil Service Rule 12.6(a)l for having fewer that 8
hours ofsick leave and, allegedly, that according to Robinson's physician's certificate, that
Robinson was unable to perform the essential functions of the job.

16.

The reasons given to Robinson by for his termination were false because Dr.
Gladden, Robinson’s physician, released Robinson to return to work on the day that he was
terminated, August 1, 2011.

17.

HSD did not give Robinson adequate notice that his sick leave and his leave eligibility
under the Family and Medical Leave Act were being exhausted. Robinson was able to
perform the essential functions ofhis job with accommodation. HSD could not terminate
Robinson and any other similarly situated employees under 12.6(a)i for not being able to
perform the essential functions of his job and having fewer than eight hours sick leave
without considering possible reasonable accommodations.

18.

This State Agency or any State Agency which applied Louisiana State Civil
Service Commission Rule CSR 12.6(a)1 to remove any disabled employee or any
employee on leave with a medical disability without considering a reasonable
accommodation which would have assisted them in using less sick leave or allow
additional leave as an accommodation or which would have assisted those disabled state
employees in performing the essential functions of the job subjected a class of disabled
employees to discrimination under the ADAAA.

19.
HSD’s use of CSR 12.6(a)1 is based on an established policy or practice of the

state agency.
Case 2:17-cv-06956-MVL-JCW Document 1-1 Filed 07/20/17 Page 6 of 7

20.
HSD failed to engage in any interactive discussion with Robinson regarding any
reasonable accommodation.
21.

HSD discriminated against Robinson because of his disability and/or because he

was regarded as disabled by HSD.
22.

HSD retaliated against Robinson for asking to return to work with the use of a

wheelchair.

23.

As a result of the situation sued upon herein, Petitioner sustained damages which
include, but are not limited to, loss of compensation, extreme and severe emotional distress;
mental anguish, humiliation, and embarrassment: loss of his good name, reputation and
standing in the community; past and future medical and/or psychological expenses,
prejudgment interest, and all such other damages as will be more fully shown in the trial of
this matter.

24.
Petitioner is entitled to and desires an award of attorney's fees against Defendants.
25.
Petitioner requests and desires an award of such other relief, which he may be entitled

to in law or in equity.

WHEREFORE, Petitioner Robinson requests trial and after due proceedings are had that
there be judgment herein in his favor and against Defendant HSD as allowed by law, for all sums
as are reasonable. These sums include, but are not limited to past and future lost compensation
and benefits, lost past and future compensatory damages, including emotional distress and
damage to reputation, attorney's fees, all costs of these proceedings, and interest thereon from the
date of demand until paid, and all such other relief to which petitioner is entitled at law or in
equity. Petitioner also requests that HSD be enjoined from failing to engage in the interactive

process when considering a reasonable accommodation for individuals with a disability.
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Case 2:17-cv-06956-MVL-JCW Document 1-1 Filed 07/20/17 Page 7 of 7

Respectfully submitted,

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PLEASE SERVE VIA CITATION:

Mr. Scott Ballard, Chairman

Board of Supervisors of Louisiana State
University and Agricultural and Mechanical
College

3810 West Lakeshore Drive

Baton Rouge, LA 70808

 
 
  

  

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